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 7                                 UNITED STATES DISTRICT COURT

 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 9    JEANNETTE COOKS, an individual; and     )   CASE NO. 2:16-CV-01160-KJM-AC
      ALWENA FRAZIER, an individual; for      )
10    themselves and on behalf of all others  )   CLASS ACTION
      similarly situated                      )
11                                            )   ORDER CONSOLIDATING ACTIONS
                    Plaintiffs,               )
12                                            )
              v.                              )
13                                            )
      TNG GP, a Delaware General Partnership; )
14    THE NEWS GROUP, INC., a Delaware        )
      Corporation; SELECT MEDIA SERVICES, )
15    L.L.C., a Delaware Limited Liability    )
      Company, and, DOES 1 through 10,        )
16    inclusive,                              )
                                              )
17                  Defendants                )   Action Filed:    April 14, 2016
                                              )   Case Removed:    May 27, 2016
18                                            )   Trial date:      None set
                                              )
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     Order Consolidating Actions                     Case No. 2:16-CV-01160-KJM-AC
          Case 2:16-cv-01160-KJM-AC Document 43 Filed 08/08/18 Page 2 of 2



 1        Having read and considered the Parties’ Stipulation to Consolidated Actions, and finding good

 2   cause, the Court GRANTS the stipulation and orders:

 3        1.     Cooks II (Case No. 2:16-cv-02113-KJM-AC) is deemed related to the instant action,

 4   Cooks I, Case No. 2:16-cv-01160-KJM-AC;

 5        2.     Cooks II (Case No. 2:16-cv-02113-KJM-AC) is consolidated with the instant action,

 6   Cooks I, Case No. 2:16-cv-01160-KJM-AC.

 7        3.     The lower number case, Cooks I, will be the lead case for all purposes.

 8        IT IS SO ORDERED.

 9   DATED: August 8, 2018.

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11                                                  UNITED STATES DISTRICT JUDGE
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      Order Consolidating Actions                             Case No. 2:16-CV-01160-KJM-AC
